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                                                                                                  E-FILED
                                                               Wednesday, 06 February, 2019 03:22:51 PM
                                                                           Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT Of ILLINOIS
__________________________________________
                                              )
AARON O’NEAL and                              )
JOHN LAVELLE                                  )
                        Plaintiffs,           )
                 v.                           )
                                              )
JOHN BALDWIN, DIRECTOR,                       )
ILLINOIS DEPARTMENT                           )
OF CORRECTIONS, in his official and           )
individual capacity; MANUEL ROJAS,            )
in his official and individual capacity;      )    Case No. 18-CV-4063-SEM-TSH
STEPHANIE DORETHY,                            )
in her official and individual capacity;      )
FREDDIE BRITTON, in his official and          )
individual capacity; ROBERT RODRIGUEZ,        )
in his official and individual capacity;      )
JOE LAHOOD, in his official and individual    )
capacity; JOHN FROST, in his official         )
and individual capacity; STEVE GANS,          )
in his official and individual capacity;      )
MELISSA PHOENIX, in her official and          )
individual capacity                           )
                                              )
                                              )
                        Defendants.           )
                                              )


  MOTION BY DANIEL A. EDELMAN, CATHLEEN M. COMBS, CASSANDRA P.
MILLER, MARY FRANCES CHARLTON, AND THE FIRM OF EDELMAN, COMBS,
LATTURNER & GOODWIN TO WITHDRAW AS PLAINTIFF O’NEAL’S COUNSEL,
      TO STRIKE PLAINTIFFS’ FIRST AMENDED COMPLAINT, AND
    TO DISMISS PLAINTIFF LAVELLE’S CLAIMS WITHOUT PREJUDICE

       Daniel A. Edelman, Cathleen M. Combs, Cassandra P. Miller, Mary Frances Charlton,

and the firm of Edelman, Combs, Latturner & Goodwin, LLC (“counsel”) hereby request leave

to withdraw as counsel for Plaintiff Aaron O’Neal, to strike and/or withdraw plaintiffs’ First

Amended Complaint, and to dismiss the claims of Plaintiff Lavelle without prejudice. In support

of their motion, counsel states:
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       1.      Plaintiff O’Neal filed his initial complaint on March 23, 2018.

       2.      In this Court’s merit review under 28 U.S.C. § 1915A on May 14, 2018, the Court

allowed Plaintiff O’Neal’s individual claims to proceed, but denied his request to proceed on a

class basis because he was proceeding pro se.

       3.      Plaintiff O’Neal retained the undersigned counsel, who filed a Motion for Leave

to File a First Amended Complaint on December 18, 2018. The proposed First Amended

Complaint added a second named plaintiff, John Lavelle, among other things. This court granted

Plaintiff O’Neal’s motion to file the First Amended Complaint on January 31, 2019.

       4.      Plaintiff O’Neal disagrees strongly with counsel as to litigation strategy, and our

diligent efforts to resolve those disagreements have failed. Plaintiff O’Neal also no longer wants

to amend his complaint, and wishes to proceed based on his original complaint.

       5.      Plaintiff Lavelle desires to be removed from this lawsuit altogether.

       6.      Under the circumstances, counsel respectfully requests leave to withdraw as

plaintiff O’Neal’s counsel.

       7.      Counsel further requests that this Court strike Plaintiffs’ First Amended

Complaint and allow Plaintiff O’Neal to proceed on the complaint he filed on March 23, 2018.

       8.      Because Plaintiff Lavelle desires to end his participation in the lawsuit, counsel

requests that this Court dismiss Plaintiff Lavelle’s claims as to all defendants without prejudice.

       WHEREFORE, Daniel A. Edelman, Cathleen M. Combs, Cassandra P. Miller, Mary

Frances Charlton, and the firm of Edelman, Combs, Latturner & Goodwin, LLC request that this

Court enter an order (1) granting them leave to withdraw as plaintiff O’Neal’s counsel, (2)

striking plaintiffs’ First Amended Complaint, allowing Mr. O’Neal to proceed on his March 23,

2018 complaint, and (3) dismissing plaintiff Lavelle’s claims without prejudice.
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                                    Respectfully submitted,

                                    s/ Cassandra P. Miller
                                    Cassandra P. Miller

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                                 CERTIFICATE OF SERVICE

         I, Cassandra P. Miller, certify that on February 6, 2019 I caused a true and accurate copy
of the foregoing document to be filed via CM/ECF system, which will send notification of such
filing to all counsel of record.


                                                      s/ Cassandra P. Miller
                                                      Cassandra P. Miller
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